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OF

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May 18, 2022

The Honorable Harry F. Smail, Jr.
Westmoreland County Courthouse
2 N Main St

Greensburg, PA 15601

RE: Christine Biros v. U Lock, Inc.
Westmoreland County Court of Common Pleas Case No. 17CJ04886

Dear Judge Smail:

By letter dated May 11, 2022, I informed the below listed counsel of my intention to
present additional evidence to you concerning motions in the above-captioned matter on May 20
2022 at 9:00 a.m. or at such other time as you may direct.

5

As you are probably aware, an Involuntary Chapter 7 Petition has been filed against U
Lock, Inc. by Shanni Snyder. Accordingly, the automatic stay provided by the Federal
Bankruptcy Rules stays any action against U Lock during the stay. However, one of my motions
before you is a request for sanctions not only against U Lock, but also against J. Allen Roth, Esq.
and George Snyder and Kash Snyder. Since none of those individuals are affected by the
Involuntary Chapter 7 filing against U Lock, I ask that you consider my Motion for Sanctions
against those three individuals.

Mr. Roth has indicated his objection to the imposition of sanctions for his behavior
because of his discharge of debt in his own bankruptcy case. I have attached the first page of
Mr. Roth’s bankruptcy petition to this letter as Attachment A. However, Mr. Roth’s discharge,

to the extent is effective in this matter, is only for his behavior prior to the date of his petition,
October 17, 2019.

Many of Mr. Roth’s actions took place after that date. As the record (and transcripts)
show, the arguments on Mr. Roth’s Post-Trial Motions took place in November, 2019. Asa
result, there is no discharge for those arguments or any of the appeals. On that basis, I ask that
you consider my Motion for Sanctions against Mr. Roth, as well as the Snyder brothers.

 
The Honorable Harry F. Smail, Jr.
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If May 20, 2022 at 9:00 a.m. is inconvenient, I ask that your office inform me of a date
which better suits your schedule.

spectfully submitted,

 
 
 

 

 

illiam E. Otto, Esq.
WEO/dlj

CC: J. Allen Roth, Esq.
John Tumolo, Esq.
Dennis Del Cotto, Esq.

 
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United States Bankruptcy Court for the:

 
 

WESTERN DISTRICT OF PENNSYLVANIA

  
  

Case number (if known) _ Chapter you are filing under:

 

 

H Chapter 7

C Chapter 11

C1] Chapter 12

C1 Chapter 13 O Check if this is an
_ - amended filing

 

Official Form 101
Voluntary Petition for Individuals Filin for Bankruptc 4217

The bankruptcy forms use you and Debtor 4 to refer to a debtor filing alone, A married couple may file a bankruptcy case together—called a joint
case—and in joint cases, these forms use you fo ask for information from both debtors. For exampie, if a form asks, “Do you own a car,” the answer
would be yes if either debtor owns a car. When information is needed about the spouses Separately, the form uses Debtor 7 and Debtor 2 to distinguish

between them. In joint cases, one of the spouses must report information as Debtor 7 and the other as Debtor 2. The same person must be Debtor 7 in
all of the forms.

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. if

more Space is needed, attach a separate shaat to this form. On the top of any additional Pages, write your name and case number (if known). Answer
every question,

Identify Yourself
i a

About Debtor 1:

 

ee
About Debtor 2 (Spouse Only in a Joint Case):
1. Your full name

Write the name that is on John
your government-issued First name ”

 

 

 

“First name
picture identification (for

example, your driver's Allen

license or passport). “Middle name Middle name

eantteame Ce car Ran and Sa I ————— id Suffix (Sr., dr.. il, Mi _ :
meeting with the trustee. ast name and Suffix (Sr., Jr., i, Ii) Last name and Suffix (Sr., dr., Ii, 1)

 

 

 

2. All other names you have
usedinthelast8 years J. Allen Roth
Allen Roth

include your married or
maiden names.

 

3. Only the last 4 digits of
your Social Security
number or federal
Individual Taxpayer
identification number
(ITIN)

XXX=XX-3783

 

 

 

 

ATT ACHPNERT

Official Form 1014 Voluntary Petition for Individuals Filing for Bankruptcy page 1

 
